                                          Case 5:24-mc-80072-PCP Document 10 Filed 04/30/24 Page 1 of 4




                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                             NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     IN RE EX PARTE APPLICATION OF                    Case No. 24-mc-80072-PCP
                                         MIN-JI KIM ET AL,
                                   8                    Applicants.                       ORDER GRANTING EX PARTE
                                   9                                                      APPLICATION

                                  10                                                      Re: Dkt. No. 7

                                  11

                                  12
Northern District of California
 United States District Court




                                                                               BACKGROUND
                                  13
                                              Pursuant to 28 U.S.C. § 1782, applicants Min-ji Kim, Pham Ngoc Hân, Ji-hye Mo, Hae-rin
                                  14
                                       Kang, and Hye-in Lee move ex parte for an order authorizing limited discovery from Google LLC
                                  15
                                       (YouTube’s parent company) for use in a criminal matter in Korea. Applicants are members of a
                                  16
                                       female K-POP group called NewJeans and have been attacked by an anonymous YouTuber who
                                  17
                                       posted up to 33 purportedly false and defamatory videos from September 10, 2022 to March 6,
                                  18
                                       2024. The applicants’ attorney, Eugene Kim, asserts that the mockery in the videos constitutes
                                  19
                                       defamation and/or the crime of insult under Korean law. Dkt. No. 8.
                                  20
                                              On March 19, 2024, the applicants filed a criminal complaint against the YouTuber in
                                  21
                                       Korea, alleging defamation under Article 70(2) of the Act on Promotion of Information and
                                  22
                                       Communications Network Utilization and Information Protection and under Article 311 of the
                                  23
                                       Korean Criminal Act. In order to proceed with the criminal matter, however, the identity of the
                                  24
                                       YouTuber must be known. Applicants thus filed an ex parte application in this Court under § 1782
                                  25
                                       to seek personally identifiable information of the YouTuber. Applicants hope to serve Google with
                                  26
                                       a subpoena ordering Google to provide the name, gender, date of birth, address, email address, and
                                  27
                                       telephone number associated with the YouTuber’s Google account as well as the access logs
                                  28
                                          Case 5:24-mc-80072-PCP Document 10 Filed 04/30/24 Page 2 of 4




                                   1   (including timestamps, IP addresses, and port numbers) of the Google account from October 1,

                                   2   2023 until the date of document production. Dkt. No. 7, at 15–16.

                                   3                                         LEGAL STANDARDS

                                   4          Section 1782 permits district courts to authorize discovery where three requirements are

                                   5   satisfied: (1) the person from whom the discovery is sought “resides or is found” in the district of

                                   6   the district court where the application is made; (2) the discovery is “for use in a proceeding in a

                                   7   foreign or international tribunal”; and (3) the application is made by a foreign or international

                                   8   tribunal or “any interested person.” Khrapunov v. Prosyankin, 931 F.3d 922, 925 (9th Cir. 2019);

                                   9   28 U.S.C. § 1782(a). The Supreme Court has identified four factors to be considered by a district

                                  10   court when exercising discretion to authorize discovery pursuant to § 1782: (1) whether the entity

                                  11   from whom discovery is sought is a participant in the foreign proceeding; (2) the nature of the

                                  12   foreign tribunal, the character of the proceedings underway abroad, and the receptivity of the
Northern District of California
 United States District Court




                                  13   foreign government or the court or agency abroad to U.S. federal-court judicial assistance; (3)

                                  14   whether the request conceals an attempt to circumvent foreign proof-gathering restrictions or other

                                  15   policies of a foreign country or the United States; and (4) whether the request is unduly intrusive

                                  16   or burdensome. Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 264–65 (2004).

                                  17          An applicant need not “show that United States law would allow discovery in domestic

                                  18   litigation analogous to the foreign proceeding.” Id. at 263. “Section 1782 is a provision for

                                  19   assistance to tribunals abroad. It does not direct United States courts to engage in comparative

                                  20   analysis to determine whether analogous proceedings exist here. Comparisons of that order can be

                                  21   fraught with danger.” Id. The fear of considering § 1782 applications on an ex parte basis is

                                  22   minimized because “parties will be given adequate notice of any discovery taken pursuant to the

                                  23   request and will then have the opportunity to move to quash the discovery or to participate in it.”

                                  24   IPCom GmbH & Co, KG v. Apple, Inc., 61 F. Supp. 3d 919, 922 (N.D. Cal. 2014). Granting ex

                                  25   parte applications under § 1782 only authorizes discovery, meaning that opposing parties can still

                                  26   raise objections and file a motion to quash after the application is granted. Id.

                                  27                                                ANALYSIS

                                  28          Applicants have met the three requirements set out in 28 U.S.C. § 1782(a). First, Google is
                                                                                          2
                                          Case 5:24-mc-80072-PCP Document 10 Filed 04/30/24 Page 3 of 4




                                   1   headquartered in Mountain View, California (within Santa Clara County), and thus resides in this

                                   2   District. Second, a criminal complaint has been filed in Korea and discovery is being sought for

                                   3   use in that foreign tribunal. And third, the application is being made by the litigants in that foreign

                                   4   proceeding. See Intel, 542 U.S. at 256 (expressing “[n]o doubt [that] litigants are included among,

                                   5   and may be the most common example of, the ‘interested person[s]’ who may invoke § 1782”).

                                   6          The discretionary Intel factors also support granting the ex parte application. First, Google

                                   7   is not a party in the criminal lawsuit (only the anonymous YouTuber is), so the material requested

                                   8   in the subpoena would not otherwise be easily obtainable from Google in the Korean proceeding.

                                   9   See In re Ex Parte Application Varian Med. Sys. Int’l AG, 2016 WL 1161568, at *3 (N.D. Cal.

                                  10   Mar. 24, 2016). Second, Korean courts are generally receptive to U.S. federal court assistance, and

                                  11   there is no evidence to the contrary showing that the Korean tribunal would reject such discovery.

                                  12   See, e.g., In re Request for Judicial Assistance from Seoul Central District Court in Seoul,
Northern District of California
 United States District Court




                                  13   Republic of South Korea, 2023 WL 2394545, at *1 (N.D. Cal. Mar. 7, 2023). Third, nothing in the

                                  14   record suggests that the applicants are attempting to circumvent foreign proof-gathering

                                  15   restrictions through this ex parte application. In re Google Inc., 2014 WL 7146994, at *3 (N.D.

                                  16   Cal. Dec. 15, 2014); see also In re Eurasian Natural Resources Corp., 2018 WL 1557167, at *3

                                  17   (N.D. Cal. Mar. 30, 2018). Fourth, and finally, the discovery request here is narrowly tailored and

                                  18   does not suggest that applicants are engaged in a broad fishing expedition. In re Ex Parte App. of

                                  19   Qualcomm Inc., 162 F. Supp. 3d 1029, 1043 (N.D. Cal. 2016). Rather, the proposed subpoena

                                  20   seeks to identify basic identifying information of the YouTuber and access log data associated

                                  21   with the YouTuber’s Google account from October 2023 onwards. And as applicants contend, the

                                  22   narrow time period within which they request such access log data appears reasonable because the

                                  23   names and addresses on file with the Google account may be fictitious and insufficient alone to

                                  24   identify the YouTuber.

                                  25                                              CONCLUSION

                                  26          For the foregoing reasons, the Court grants applicants’ ex parte application and authorizes

                                  27   limited discovery from Google pursuant to 28 U.S.C. § 1782. The Court permits applicants to

                                  28   serve the subpoena for document production upon Google as presented in their application.
                                                                                          3
                                          Case 5:24-mc-80072-PCP Document 10 Filed 04/30/24 Page 4 of 4




                                   1          IT IS SO ORDERED.

                                   2   Dated: April 30, 2024

                                   3

                                   4
                                                                                     P. Casey Pitts
                                   5                                                 United States District Judge
                                   6

                                   7

                                   8

                                   9

                                  10

                                  11

                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                             4
